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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               EL DORADO DIVISION

TERESA TURNER-PORCHIA                                                         PLAINTIFF

       v.                          CIVIL NO. 1:20-cv-1003-MEF

ANDREW SAUL, Commissioner,
Social Security Administration                                                DEFENDANT

                                       JUDGMENT

       For the reasons stated in the Court’s Memorandum Opinion an Order, Plaintiff’s Motion

to Dismiss (ECF No. 18) is hereby GRANTED, and the Plaintiff’s Complaint is dismissed without

prejudice.

       IT IS SO ORDERED on this 19th day of October, 2020.

                                          /s/ Mark E. Ford
                                          HON. MARK E. FORD
                                          UNITED STATES MAGISTRATE JUDGE
